Case 9:24-cr-80116-AMC Document 76-2 Entered on FLSD Docket 11/22/2024 Page 1 of 12




                             EXHIBIT B
                  Case 9:24-cr-80116-AMC Document 76-2
                                                  71-1 Entered on FLSD Docket 11/22/2024
                                                                              11/13/2024 Page 2
                                                                                              1 of 12
                                                                                                   11

                                        UNITED STATES v. RYAN WESLEY ROUTH
                                         CASE NO. 24-80116-CR-CANNON/MCCABE
                            UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                                            DATE PRODUCED: November 13, 2024
                                              BATES RANGE: GOV004113-5953
         FOLDER:                                           FILE NAME:                                  BATES Range Nos.:
                                                        (“>” denotes a folder)
                                                      (“>>” denotes a subfolder)
01 FBI Reports                                       Combined FBI 302 Reports                           Gov004113-4317
02 Lab Reports                                         Lab Reports Combined:                            Gov004318-4465

                              FTD Worksheet – Lab No. 2024-02020-6 and 18
                              10/2/2024 Lab Report No. 2024-02020-3

                              FBI Lab No. 2024-02020-6: 1A Cover Pg/Comm Log/Rec Report: (ATF etrace
                              center comms re serial # structure)

                              10/4/2024 FBI Lab No. 2024-02020-13

                              9/26/2024 FBI Lab No. 2024-02020-16

                              10/3/2024 FBI Lab No. 2024-02020-29

                              10/8/2024 FBI Lab No. 2024-02020-35

                              10/8/2024 FBI Lab No. 2024-02020-37
                              =
03 Logs – Receipts - Maps     Western Union Receipts                                                    Gov004466-4572
                              DHSMV Record Plate 97EEED
                              9/15/2024 FBI Property Receipt (Routh’s clothes/shoes/sunglasses)
                              9/15/2024 PBSO Property Receipt
                              FBI Evidence Chain of Custody Report
                              9/18/2024 FBI Property Receipt (DNA swabs/notebook/gloves/shirt)
                              9/18/2024 FBI Property Receipt (tire tread casting/soil sample)
                              9/19/2024 FBI Evidence Collection Log (DNA/hair)
                              9/19/2024 FBI Property Receipt (DNA/hair)
                              9/2/2024 FBI Evidence Collection Log (Search of Oran/Residence)

                                                                    1
                      Case 9:24-cr-80116-AMC Document 76-2
                                                      71-1 Entered on FLSD Docket 11/22/2024
                                                                                  11/13/2024 Page 3
                                                                                                  2 of 12
                                                                                                       11

                                        UNITED STATES v. RYAN WESLEY ROUTH
                                         CASE NO. 24-80116-CR-CANNON/MCCABE
                            UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                                            DATE PRODUCED: November 13, 2024
                                              BATES RANGE: GOV004113-5953
         FOLDER:                                              FILE NAME:                             BATES Range Nos.:
                                                           (“>” denotes a folder)
                                                        (“>>” denotes a subfolder)
                                9/21/2024 FBI Property Receipt (Oran Routh/XXXX Van Wert St.)
                                9/21/2024 FBI Photographic Log (Oran Routh/XXXX Van Wert St.)
                                9/16/2024 FBI Property Receipt (Items in Black 2007 Nissan Xterra)
                                9/16/2024 FBI Digital Photo Log (Xterra and contents in vehicle)
                                FBI Evidence Team Casebook
                                9/26/2024 FBI Evidence Collection Log (Orange Ford 750)
                                9/26/2024 FBI Property Receipt (Orange Ford 750)
                                9/17/2024 FBI Evidence Collection Log (XX-XXX Kamehameha Hwy)
                                9/17/2024 FBI Property Receipt (XX-XXX Kamehameha Hwy)
                                9/17/2024 FBI ERT Photographic Log (XX-XXX Kamehameha Hwy)
                                10/5/2024 FBI Photographic Log (White Audi SUV Plate: WYK999)
                                10/5/2024 FBI Evidence Collection Log (Audi/Plate: WYK999)
                                10/5/2024 FBI Property Receipt (Audi/Plate: WYK999)
                                9/19/2024 FBI Evidence Recovery Log (Grey Sterilite Box)
                                9/26/2024 FBI ERT Photographic Log (Orange Ford 750)
                                9/16/2024 FBI ERT Casebook (ERT Search of Nissan Xterra)
04 Letters and Jail                                                                                   Gov004573-4606
Communications
>10.08.24-10.09.24
04 Letters and Jail                                                                                    Gov004607-18
Communications
>10.09.24-10.10.24
04 Letters and Jail                                                                                    Gov004619-25
Communications
>10.10.24-10.11.24
04 Letters and Jail                                                                                    Gov004626-94
Communications
>10.11.24-10.15.24
                                                                    2
                 Case 9:24-cr-80116-AMC Document 76-2
                                                 71-1 Entered on FLSD Docket 11/22/2024
                                                                             11/13/2024 Page 4
                                                                                             3 of 12
                                                                                                  11

                                       UNITED STATES v. RYAN WESLEY ROUTH
                                        CASE NO. 24-80116-CR-CANNON/MCCABE
                           UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                                           DATE PRODUCED: November 13, 2024
                                             BATES RANGE: GOV004113-5953
        FOLDER:                                     FILE NAME:                                 BATES Range Nos.:
                                                 (“>” denotes a folder)
                                               (“>>” denotes a subfolder)
04 Letters and Jail                                                                               Gov004695-99
Communications
>Content Routh 35967-511
0916-1001 2024 1 of 2
04 Letters and Jail                                                                               Gov004700-03
Communications
>Content Routh 35967-511
0916-1001 2024 2 of 2
04 Letters and Jail                                                                               Gov004704-42
Communications
>Content Routh 35967-511
1001-1003 1 of 2
04 Letters and Jail                                                                               Gov004743-89
Communications
>Content Routh 35967-511
1001-1003 2 of 2
04 Letters and Jail                                                                               Gov004790-92
Communications
>Content Routh 35967-511
1003-1007 1 of 2
04 Letters and Jail                                                                               Gov004793-98
Communications
>Content Routh 35967-511
1003-1007 2 of 2
04 Letters and Jail                                                                              Gov004799-4815
Communications
>Content Routh 35967-511
1007-1008 1 of 2
                                                            3
                   Case 9:24-cr-80116-AMC Document 76-2
                                                   71-1 Entered on FLSD Docket 11/22/2024
                                                                               11/13/2024 Page 5
                                                                                               4 of 12
                                                                                                    11

                                       UNITED STATES v. RYAN WESLEY ROUTH
                                        CASE NO. 24-80116-CR-CANNON/MCCABE
                           UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                                           DATE PRODUCED: November 13, 2024
                                             BATES RANGE: GOV004113-5953
        FOLDER:                                       FILE NAME:                                 BATES Range Nos.:
                                                   (“>” denotes a folder)
                                                 (“>>” denotes a subfolder)
04 Letters and Jail                                                                                 Gov004816-35
Communications
>Content Routh 35967-511
1007-1008 2 of 2
04 Letters and Jail                                                                                Gov004836-4999
Communications

05 Miscellaneous             0000864_1A0000711_0000001                                              Gov005000-25
                             0000885_1A0000726_0000001_Redacted
                             0001060_1A0000879_0000001
                             0001060_1A0000879_0000002
06 Records                   >29 - Western Union                                                   Gov005026-5102
                             >30 – Block
                             >31 – Equifax
                             >39 - American Airlines
                             >87 - Delta Airlines
                             >90 - Southwest
                             >91 - United Airlines
                             >116 - Stripe
                             >117 - Moneygram
                             >132 - Meta Platforms Inc
                             >133 – WhatsApp
                             >156 - Amazon
                             >169 - Hawaiian Airlines
                             >170 - UHaul
                             >173 - TransUnion
                             >174 - NC Dept of Corrections
                             >175 – Coinbase
                                                              4
      Case 9:24-cr-80116-AMC Document 76-2
                                      71-1 Entered on FLSD Docket 11/22/2024
                                                                  11/13/2024 Page 6
                                                                                  5 of 12
                                                                                       11

                        UNITED STATES v. RYAN WESLEY ROUTH
                         CASE NO. 24-80116-CR-CANNON/MCCABE
            UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                            DATE PRODUCED: November 13, 2024
                              BATES RANGE: GOV004113-5953
FOLDER:                                     FILE NAME:                              BATES Range Nos.:
                                         (“>” denotes a folder)
                                       (“>>” denotes a subfolder)
                >217 - Automattic Inc
                >219 - US Copyright_
                >221, 389 - Alaskan Airlines
                >223 - The Bancorp Bank
                >227 - Capital One NA
                >228 - Synchrony Bank
                >275 - FedEx, FedEx Freight, FedEx Ground
                >294, 364 - Meta Facebook
                >297 - Apple
                >298 – TracFone
                >303 - Meta Platforms (Instagram)
                >306 - Google
                >307 - PayPal
                >309 – Block
                >314 - Foursquare
                >323 - Experian
                >326 - LinkedIn
                >331, 355 - Citibank
                >365 - Google
                >369 - Mastercard
                >372 - First Hawaiian Bank
                >373 - X Corp
                >374 - X Corp
                >375 - WhatsApp
                >379 - ATT
                >380 - JP Morgan Chase Bank, NA
                >381 - RentAHome
                >385 - Craigslist
                                                    5
      Case 9:24-cr-80116-AMC Document 76-2
                                      71-1 Entered on FLSD Docket 11/22/2024
                                                                  11/13/2024 Page 7
                                                                                  6 of 12
                                                                                       11

                        UNITED STATES v. RYAN WESLEY ROUTH
                         CASE NO. 24-80116-CR-CANNON/MCCABE
            UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                            DATE PRODUCED: November 13, 2024
                              BATES RANGE: GOV004113-5953
FOLDER:                                    FILE NAME:                               BATES Range Nos.:
                                        (“>” denotes a folder)
                                      (“>>” denotes a subfolder)
                >386 - AirBnB
                >388 - Home Depot
                >390 - TMobile
                >391 - Yahoo
                >393 - Google
                >396 - Dropbox
                >397 - American Express
                >398 – Uber
                >AT&T_7269
                >Cricket
                >Dick’s Sporting Goods
                >Google Pay
                >Google_iamanidiot
                >Instagram_xxxxxxxxsky
                >Phone Records_9532 and 1801
                >TMobile 7153
                >Twitch
                >Twitter
                >WhatsApp 0256
                >WhatsApp 4500
                >WhatsApp 4556
                >WhatsApp 5060
                >WhatsApp 5171
                >WhatsApp 5425
                >WhatsApp 7098
                >WhatsApp 7245
                >WhatsApp 8640
                >WhatsApp 8734
                                                   6
                Case 9:24-cr-80116-AMC Document 76-2
                                                71-1 Entered on FLSD Docket 11/22/2024
                                                                            11/13/2024 Page 8
                                                                                            7 of 12
                                                                                                 11

                                  UNITED STATES v. RYAN WESLEY ROUTH
                                   CASE NO. 24-80116-CR-CANNON/MCCABE
                      UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                                      DATE PRODUCED: November 13, 2024
                                        BATES RANGE: GOV004113-5953
       FOLDER:                                      FILE NAME:                                BATES Range Nos.:
                                                 (“>” denotes a folder)
                                               (“>>” denotes a subfolder)
                          >WhatsApp 8807_1
                          >WhatsApp 8807_2
                          >WhatsApp 9466
                          >WhatsApp_8342
                          GJ_0000413_1A0000357_0000002
07 Photos                 >>DCIM:                                                               Gov005104-5359
>MM ERT Golf Course       >>>100ND780:
Photos                       - Photos Combined (Gov005104-5359)
07 Photos                 >>01_Notebook:                                                        Gov005360-5667
>Xterra                      - 01 Notebook Photos Combined (Gov005360-89)
                          >>02_Notebook:
                             - 02 Notebook Photos Combined (Gov005390-5420)
                          >>03_Vehicle:
                             - 03 Vehicle Photos Combined (Gov005421-50)
                          >>04_Vehicle:
                             - 04 Vehicle Photos Combined (Gov005451-80)
                          >>05_Notebook:
                             - 05 Notebook Photos Combined (Gov005481-5510)
                          >>06_Notebook:
                             - 06 Notebook Photos Combined (Gov005511-40)
                          >>07_Items in Vehicle:
                             - 07 Items in Vehicle Combined (Gov005541-70)
                          >>08_Notebook:
                             - 08 Notebook Photos Combined (Gov005571-85)
                          >>09_Documents and Misc.:
                             - 09 Documents and Misc Photos Combined (Gov005586-92)
                          >>10_Notebook:
                             - 10 Notebook Photos Combined (Gov005593-5607)
                                                            7
                  Case 9:24-cr-80116-AMC Document 76-2
                                                  71-1 Entered on FLSD Docket 11/22/2024
                                                                              11/13/2024 Page 9
                                                                                              8 of 12
                                                                                                   11

                                      UNITED STATES v. RYAN WESLEY ROUTH
                                       CASE NO. 24-80116-CR-CANNON/MCCABE
                          UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                                          DATE PRODUCED: November 13, 2024
                                            BATES RANGE: GOV004113-5953
         FOLDER:                                           FILE NAME:                                BATES Range Nos.:
                                                        (“>” denotes a folder)
                                                      (“>>” denotes a subfolder)
                             >>11_Notebook:
                                - 11 Notebook Photos Combined (Gov005608-37)
                             >>12_Notebook:
                                - 12 Notebook Photos Combined (Gov005638-67)
07 Photos                    07 Photos Combined                                                       Gov005668-5849
08 License Plate Reader Data 0001300_1A0000020_0000001                                                Gov005850-5908
(“LPR”)                      0001301_1A0000021_0000001
09 Videos                    >PBIA Video Sept 7th:                                                     Gov005909-53
                             >> 2024 09 07 PBSO Rqst PL:
                             - ADMIN 846 TURNAGE NE - ST PRK ENT PTZ-2024-09-07_10h20min00s000ms_1
                              (Gov 005909)
                              - AIRSIDE S PBSO AVIATION AOA, V20 PTZ-2024-09-07_10h48min04s000ms_1
                              (Gov005910)
                              - MAIN EXIT PLAZA ALL LANES-2024-09-07_11h01min28s000ms_1
                              (Gov005911)
                              - MAIN EXIT PLAZA LANE # 6-2024-09-07_11h01min38s000ms_1
                              (Gov005912)
                              - MAIN EXIT PLAZA OUTBOUND-2024-09-07_11h05min03s000ms_1
                              (Gov005913)
                              - SHORT TERM ENTRY (3 LANES)-2024-09-07_10h20min00s000ms_1
                              (Gov005914)
                              - STP L5 EAST, DOA PARK, OB TURN-2024-09-07_10h21min00s000ms_1
                              (Gov005915)
                              - STP L5 EAST, DOA PARK, OB TURN-2024-09-07_10h59min42s000ms
                              (Gov005916)
                              - STP L6 EAST (BY ELEV)-2024-09-07_10h22min29s000ms_1
                              (Gov005917)
                              - STP L6 EAST-2024-09-07_10h21min50s000ms_1
                              (Gov005918)
                              - STP L6 EAST-2024-09-07_10h58min45s000ms
                              (Gov005919)

                                                                   8
     Case
     Case9:24-cr-80116-AMC
          9:24-cr-80116-AMC Document
                            Document76-2
                                     71-1 Entered
                                          Enteredon
                                                  onFLSD
                                                    FLSDDocket
                                                         Docket11/22/2024
                                                                11/13/2024 Page
                                                                           Page10
                                                                                9 of
                                                                                  of11
                                                                                     12

                        UNITED STATES v. RYAN WESLEY ROUTH
                         CASE NO. 24-80116-CR-CANNON/MCCABE
            UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                            DATE PRODUCED: November 13, 2024
                              BATES RANGE: GOV004113-5953
FOLDER:                                     FILE NAME:                                 BATES Range Nos.:
                                         (“>” denotes a folder)
                                       (“>>” denotes a subfolder)
               - STP L6 WEST (BY ELEV)-2024-09-07_10h21min39s000ms_1
               (Gov005920)
               - STP L6 WEST (BY ELEV)-2024-09-07_10h59min20s000ms_1
               (Gov005921)
               - STP L6 WEST, WEST LOOP _ PET AREA PTZ-2024-09-07_10h58min45s000ms_1
               (Gov005922)
               - STP L6 WEST, WEST LOOP _ PET AREA PTZ-2024-09-25_10h21min50s000ms
               (Gov005923)
               - STP L7 WEST (BY ELEV)-2024-09-07_10h22min27s000ms_1
               (Gov005924)
               >>Terminal PBSO 2024 09 07:
               - ESC F, L3 TO L2 - 21-2024-09-07_10h32min16s000ms_1
               (Gov005925)
               - ESC K AND G, L3 TO L2, SAM SNEADS-2024-09-07_10h27min00s000ms_1
               (Gov005926)
               - ESC K AND G, L3 TO L2, SAM SNEADS-2024-09-07_10h50min03s000ms_2
               (Gov005927)
               - T 3RD TCKT 05 FRONTIER CNTR EV-2024-09-07_10h27min30s000ms_1
               (Gov005928)
               - T 3RD TCKT 06 JETBLUE CNTR WV-2024-09-07_10h27min49s000ms_1
               (Gov005929)
               - T 3RD TCKT 07 AMERICAN CNTR EV-2024-09-07_10h27min30s000ms_1
               (Gov005930)
               - T 3RD TCKT 08 AMERICAN EV PTZ-2024-09-07_10h27min28s000ms_1
               (Gov005931)
               - T 3RD TCKT 10 AMERICAN WV PTZ-2024-09-07_10h28min22s000ms_1
               (Gov005932)
               - T 3RD TCKT 10 AMERICAN WV PTZ-2024-09-07_10h31min27s000ms_2
               (Gov005933)

               - T 3RD TCKT 11 AIR CANADA WV-2024-09-07_10h29min04s000ms_1
               (Gov005934)
               - T 3RD TCKT 12 UNITED EV PTZ-2024-09-07_10h27min49s000ms_1

                                                    9
     Case 9:24-cr-80116-AMC Document 76-2
                                     71-1 Entered on FLSD Docket 11/22/2024
                                                                 11/13/2024 Page 11
                                                                                 10 of 12
                                                                                       11

                        UNITED STATES v. RYAN WESLEY ROUTH
                         CASE NO. 24-80116-CR-CANNON/MCCABE
            UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
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                              BATES RANGE: GOV004113-5953
FOLDER:                                     FILE NAME:                                    BATES Range Nos.:
                                         (“>” denotes a folder)
                                       (“>>” denotes a subfolder)
               (Gov005935)
               - T 3RD TCKT 14 WEST ELEV. LOBBY PTZ-2024-09-07_10h29min24s000ms_1
               (Gov005936)
               - T 3RD TCKT 15 SWA ESC E WV-2024-09-07_10h29min37s000ms_1
               (Gov005937)
               - T 3RD TCKT 16 WEST END-SWA EV PTZ-2024-09-07_10h28min36s000ms_1
               (Gov005938)
               - TERM 2ND LVL_ 3 BY DOA - 231-2024-09-07_10h32min44s000ms_1
               (Gov005939)
               - TERM 2ND LVL_ 4 ATRIUM CAM F-240-2024-09-07_10h32min47s000ms_1
               (Gov005940)
               - TERM 2ND LVL_ 5 BY PBSO DISP - 233-2024-09-07_10h32min39s000ms_1
               (Gov005941)
               - TERM 2ND LVL_ 6 CPK - 234-2024-09-07_10h26min23s000ms_1
               (Gov005942)
               - TERM 2ND LVL_ 6 CPK - 234-2024-09-07_10h50min09s000ms_1
               (Gov005943)
               - TERM 2ND LVL_ 7 EAST ELEV PTZ-2024-09-07_10h51min51s000ms_1
               (Gov005944)
               >add file 09 30 2024:
               - T 3RD TCKT 12 UNITED EV PTZ-2024-09-07_10h31min27s000ms_1 (Gov005945)
               >Video of Family Dollar:
               - 0001283 (Gov005946-47)
               - orchid_06_-_Height_Strip_from_2024-09-10_at_15.55.29_UTC_to_2024-09-
               10_at_16.03.29_UTC (Gov005948)
               - orchid_09_-_Front_Exterior_from_2024-09-10_at_15.55.29_UTC_to_2024-09-
               10_at_16.03.29_UTC (Gov005949)
               - orchid_22_-_Customer_Queue_from_2024-09-10_at_15.55.29_UTC_to_2024-09-
               10_at_16.03.29_UTC (Gov005950)
               orchid_29_-_Art_Supplies_from_2024-09-10_at_15.55.29_UTC_to_2024-09-
               10_at_16.03.29_UTC (Gov005951)
               0000864_1A0000711_0000016.mp4 (Gov005952)
                                              10
     Case 9:24-cr-80116-AMC Document 76-2
                                     71-1 Entered on FLSD Docket 11/22/2024
                                                                 11/13/2024 Page 12
                                                                                 11 of 12
                                                                                       11

                        UNITED STATES v. RYAN WESLEY ROUTH
                         CASE NO. 24-80116-CR-CANNON/MCCABE
            UNITED STATES’ SECOND RESPONSE TO STANDING DISCOVERY ORDER
                            DATE PRODUCED: November 13, 2024
                              BATES RANGE: GOV004113-5953
FOLDER:                                 FILE NAME:                                 BATES Range Nos.:
                                     (“>” denotes a folder)
                                   (“>>” denotes a subfolder)
               0000930_1A0000756_0000001.xspf (Gov005953)




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